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A 0 245B (Rev 06105) Sheet 1 -Judgment in a Crimiil Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASENUMBER: 8:07-cr-lSl-T-30EAJ
                                                               USM NUMBER: 49429-01 8
VS.



MAYNOR JAVIER MADRID-MURILLO
                                                               Defendant's Attorney: Robert Tager, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE and TWO of the Indictment.
-pleaded nolo contendere to count($ which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

46 U.S.C. 570503(a)(1); 70506(a); Conspiracy to Possess With Intent to           April 26,2007                      One
and 70506(b) and 21 U.S.C.        Distribute Five (5) or More Kilograms
WW)(l)(B)(ii)                     of Cocaine While on Board a Vessel
                                  Subject to the Jurisdiction of the
                                  United States

46 U.S.C. g70503(a)(l) and          Possess With Intent to Distribute Five (5)   April 26,2007                      Two
70506(a); 18 U.S.C. 52; and         or More Kilograms of Cocaine While on
21 U.S.C. $96O(b)(l)(B)(ii)         Board a Vessel Subject to the Jurisdiction
                                    of the United States

       The defendantis sentenced as providedin pages 2 through 6 of thisjudgment. The sentence is nnposed pursuant to the Sentencing
Reform Act of 1984.

-The defendant has been found not guilty on count(s)
- Count(s) of the Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid
If ordered to pay restitution, the defendant must not@ the court and United States Attorney of any material change in economic
circumstances.

                                                                                 Date of Imposition of Sentence: November 1,2007




                                                                                 DATE: ~ovember2 , 2 0 0 7
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A 0 245B (Rev 06/05) Shect 2 - Imprisonment (Juclgncnt in a Criminal Case)
Defendant:         MAYNOR JAVIER MADRID-MURILLO                                                      Judgment - Page 2of 4--
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                                                               IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and FIFTY-ONE (151) MONTHS on each of Counts One and Two of the Indictment,
all such terms to run concurrently.




-
X The court makes the following recommendations to the Bureau of Prisons:                        The deFendant shall be placed at a correctional
facility as close to Houston, Texas, if possible.


-
X The defendant is rcrnanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          - at a.m./p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrender for scrvicc of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Ollice.




                                                                         RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                              to
- at                                                                     , with a cet-iified copy of this judgment.



                                                                                   United States Marshal


                                                                                            Deputy United States Marshal
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A 0 245 B (Rev. 06/05) Sheet 3 - Supervised Rclcasc (Judgment in a Criminal Case)

Defendant:         MAYNOR JAVIER MADRID-MURILLO                                                                   Judgment - Page 3 of 6
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                                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of F W E (5) YEARS as to Counts
One and Two of the Indictment, all such terms to run concurrently.

         The defendant nust report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfwlly possess a controlled substance.
The defendant shall refrain from any urilawlirl use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafler, as determined by the court.

-
X The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of h t u r e
  substance abuse.

X
-        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer

           If t h s judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must conlply with the standard conditions that llave been adopted by this court as well as with any additional
           conditions on the attached page.

                                           STANDARD CONDlTlONS OF SUPERVISION
 1)        the detendant shall not leave ~ h judicial
                                              c       district without the pcnnission of the courl or probation ol'licer;

 2)        the defendant shall report to the prolx~tionofficer and shall submit a truthl'ul and coinpletc written report within the tirst five days of each
           month;

 3)        the defendant shall answer truthfully dl inquiries by the probation officer and follow the instructions ofthe probation officer;

 4)        the defendant shall support his or hcr dcpcndents and nieet other family responsibilities;

 5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation ofticer fbr scliooling, training, or other
           acceptable reasons;

 6)        the defendant shall notify the probation ofticer at least ten days prior to any change in residence or employment;

 7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia relatcci to any controlled substances, except as prescribed by a physician;

 8)        the defendant shall not frequent places where controlled substances are illegally sold. usccl, distributed, or administered;

 9)        the defendant shall not associate with any persons engaged in criminal activity and shall not nssociale with any person convicted of a
           felony, unless granted permission to do so by the probation ofiicer;

 10)       the defendant shall per~nitn probation ol'ficcr to visit him or her at any time a1 home or elscwhcre and shall permit confiscation of any
           contraband observed in plain view ol'ihc probation ol'ficcr;

 1 1)      the defendant shall notiij the probation oilicer wittiin seventy-two hours of being arrcstcd or qucs~ionedby a law enforcement ofticer;

 1 2)      the defendant shall not entcr into any agrccmcnt to act as an infbmer or a special agent ol'a Iilw enforcement agency without the
           permission of the court; and

 13)       as directed by the probation ofticer, the dcfcndant shall notify third parties of risks that may bc occasioned by the defendant's criminal record
           or personal history or characteristics and shall pennit the probation olliccr to makc such notiticutions and to confirm the defendant's
           compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Relcase (Judgment in u Criminal Case)

Defendant:        MAYNOR JAVIER IVADRID-MURILLO                                                       Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        Should the defendant be deported, helshe shall not be allowed to re-enter the United States wilhout the express permission of
         the appropriate governmental authority.

-
X        The defendant shall cooperate in the collection of DNA as directed by the probation oficer.

-
X        The mandatory drug testing provisions pursuant to the Violent Crime Control Act are waived. However, the Court orders the
         probation officer to conduct random drug testing not to exceed 104 tests per year.
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 A 0 2458 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 Defendant:         MAYNOR JAVIER MADRID-MURILLO                                             Judgment - Page 5 of 6
                                                                                                                  --
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                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                            -
                                                                  Fine                        Total Restitution

          Totals:           $200.00                               Waived


 -        The determination of restitution is deferred until        .        An Anzer~decilJudgment in a Criminal Case ( A 0 2432) will
          be entered after such determination.
 -        The defendant must make restitution (including cotmnunity restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. Q:
                                                                        IJ
          3664(i), all non-federal victims must be paid before the n~tedStates.


 Name of Payee                                 Total Loss*                   Restitution Ordered                Prioritv or Percentage




                            Totals:            -
                                               $

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant must pay interest on a kine or restitution of more than $2,500. unless the restitution or fne is paid in full
          before the fif eenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 9 36 12(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -          the interest requirement is waived for the - h e - restitution.
         -          the interest requirement for the - kine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1 IOA, and 1 13A of Title 18 for the offenses conmitted
on or after September 13, 1994, but before April 23, 1996.
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A 0 2458 (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        MAYNOR JAVIER MADRID-MU R [LLO                                                Judgment - Page 6          o f 6
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                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $200.00 due immediately, balance due
                            -not later than                    or
                            -in accordance -C, - D, - E or -F below: or
                  Payment to begin immediately (may be combined with -C, -D. or -F below): or
                  Payment in equal          (e.g., weekly, monthly, quarterly) installments of $         over a per
                  of -(e.g., months or years), to comlence            days (e-g., 30 or 60 days) after the date o f t
                  judgment; or
                  Payment in equal              (e.g., weekly, monthly, quarterly) installments of S           over a period
                              , (e.g., months or years) to con~mence                    (e.g. 30 or 60 days) after release frl
                  imprisonment to-a term of supervision; or
                  Payment during the term of supervised release will commence within                 (e.g., 30 or 60 da
                  after release from imprisonment. The coud will set the payment plan based on an assessment of the
                  defendant's ability to pay at that time, or
                   Special instructions regarding the paynlent of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monet
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Fede
Bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any crin~inalmonetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint 2
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets :
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendar
nominees.
Payments shall be applied in the following order: ( 2 ) assessment, (2) restitution principal, (3) restitution interest, (4) f i e principal,
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
